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                           UNITED STATES DISTRICT COURT FOR THE
 6                           WESTERN DISTRICT OF WASHINGTON
 7                                     AT SEATTLE
 8
 9                                                        NO. CR16-195RSL
      UNITED STATES OF AMERICA,
10                           Plaintiff,                   ORDER
11               v.
12    DEVONTEA ROSEMON,
      BOBBY COLLINS,
13
                            Defendants.
14
15           The Court has considered the stipulated motion filed by the government and
16 defendants DEVONTEA ROSEMON and BOBBY COLLINS, by and through their
17 undersigned attorneys, pursuant to 18 U.S.C.§3161(h)(7)(A) and (B), requesting a
18 continuance of the trial in this case.
19           THE COURT FINDS, for all of the reasons set forth in the motion, that continuing
20 the trial in this case is necessary to allow defense counsel the reasonable time necessary
21 to investigate the case and to effectively prepare for trial and the filing of pre-trial
22 motions, taking into account the exercise of due diligence. See 18 U.S.C.
23 §3161(h)(7)(B)(iv).
             THE COURT FURTHER FINDS, considering the complexity of this case due to
24
     the nature of the prosecution and the charges contained in the Indictment, that the failure
25
26                                                                            UNITED STATES ATTORNEY
     Order - 1                                                               700 STEWART STREET, SUITE 5220
27                                                                             SEATTLE, WASHINGTON 98101
                                                                                     (206) 553-7970

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 2 to grant a continuance would be likely to result in a miscarriage of justice. See 18 U.S.C.
 3 §3161(h)(7)(B)(i).
             THE COURT FURTHER FINDS, pursuant to 18 U.S.C.§ 3161(h)(7)(A) and (B),
 4
     that the ends of justice served by continuing the trial in this case outweigh the interest of
 5
     the public and of the defendants in a more speedy trial.
 6
             IT IS THEREFORE ORDERED that the trial in this case shall be continued until
 7
     January 9, 2017, and that the period of time from the date of this Order, up to and
 8
     including the new trial date, shall be excludable time under 18 U.S.C.§ 3161(h)(7)(A);
 9
     and
10
             IT IS FURTHER ORDERED that the deadline for filing pretrial motions in this
11
     case shall be November 7, 2016.
12
13
             DATED this 18th day of August, 2016.
14
15
16
                                                       A
                                                       Robert S. Lasnik
17                                                     United States District Judge

18
     s/Todd Greenberg
19
     TODD GREENBERG
20   Assistant United States Attorney
     United States Attorney’s Office
21   700 Stewart Street, Suite 5220
22   Seattle, Washington 98101-3903
     Telephone: (206) 553-2636
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24   E-mail:       Todd.Greenberg4@usdoj.gov

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26                                                                            UNITED STATES ATTORNEY
     Order - 2                                                               700 STEWART STREET, SUITE 5220
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                                                                                     (206) 553-7970

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 1
 2
   /s Paula Deutsch (per approval)
 3 PAULA DEUTSCH
   Counsel for Devontea Rosemon
 4
 5
 6 /s Thomas W. Hillier (per approval)
 7 THOMAS W. HILLIER
   Counsel for Bobby Collins
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26                                                                        UNITED STATES ATTORNEY
     Order - 3                                                           700 STEWART STREET, SUITE 5220
27                                                                         SEATTLE, WASHINGTON 98101
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